                Case 4:11-cr-40029-JPG                   Document 629 Filed 06/20/12                      Page 1 of 6          Page ID
A0245B        (Rev. 09/11) Judgment in a Criminal Case             #2011
              Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                            Southern District of Illinois
                                                                          )
             UNITED STATES OF AMERICA                                     )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                         Holly R. Phelps                                  )
                                                                          )      Case Number: 4:11 CR40029-013-JPG
                                                                          )      USM Number: 09162-025
                                                                          )
                                                                          )       Gary E. Milone, Sr.
                                                                                 Defendant's Attorney
THE DEFENDANT:
[i{pleaded guilty to count(s)          1 of the 3rd Superseding Indictment

0 pleaded nolo contendere to count(s)
  which was accepted by the court.
0 was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




       The defendant is sentenced as provided in pages 2 through           __6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
0 Count(s)                                               0 is     0 are dismissed on the motion of the United States.
               -------------------------
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                           6/14/2012




                                                                           J. Phil Gilbert                              District Judge
                                                                          Name and Title of Judge
                 Case 4:11-cr-40029-JPG                  Document 629 Filed 06/20/12                Page 2 of 6         Page ID
AO 2458     (Rev. 09111) Judgment in Criminal Case                 #2012
            Sheet 2 - Imprisonment
                                                                                                   Judgment -Page __2=---- of     6
DEFENDANT: Holly R. Phelps
CASE NUMBER: 4:11CR40029-013-JPG


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 46 months on Count 1 of the Third Superseding Indictment




    ilf The court makes the following recommendations to the Bureau of Prisons:
 Intensive Drug Treatment Program




    D The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
          D at                                       D a.m.    D p.m.    on
                    -------------------
          D as notified by the United States Marshal.

    ilf The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          ilf as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

a ------------------------------ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL



                                                                        By ----------~==~~==~~~~~~---------
                                                                                            DEPUTY UNITED STATES MARSHAL
                   Case 4:11-cr-40029-JPG                 Document 629 Filed 06/20/12                      Page 3 of 6          Page ID
AO 2458       (Rev. 09/11) Judgment in a Criminal Case
                                                                    #2013
              Sheet 3 -Supervised Release
                                                                                                            Judgment-Page       3   of         6
DEFENDANT: Holly R. Phelps
CASE NUMBER: 4:11 CR40029-013-JPG
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 3 years on Count 1 of the 3rd Superseding Indictment


        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from anY. unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

D        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any {!ersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observea in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or P-ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3C- Supervised Release                         #2014
                                                                                            Judgment-Page   4     of       6
DEFENDANT: Holly R. Phelps
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                                        SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or ten
 percent of her net monthly income, whichever is greater to commence 30 days after release from imprisonment to a term
 of supervision until paid in full

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X Due to the defendant's substance abuse history, she shall participate as directed and approved by the probation officer
 in treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
 detection measures and which may require residence and/or participation in a residential treatment facility or residential
 reentry center. Any participation will require complete abstinence from all alcoholic beverages, illegal substances, and all
 other substances for the purposes of intoxication. The defendant shall pay for the costs associated with substance abuse
 counseling and/ or testing based on a capay sliding fee scale approved by the United States probation Office. Capay shall
 never exceed the total costs of counseling. The number of tests shall not exceed 52 in a one year period.

 X The defendant shall submit her person, residence, real property, place of business, computer, electronic communication
 and data storage device or media, vehicle and any other property under her control to a search, conducted by the United
 States Probation Officers and such other law enforcement personnel as the probation officer may deem advisable and at
 the direction of the United States Probation Officer, at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision, without a warrant. Failure to
 submit to a search may be grounds for revocation. The defendant shall inform any other residents that the premises may
 be subject to a search pursuant to this condition.

 X As the Court has reason to believe that the defendant is in need of mental health treatment, the defendant shall undergo
 a mental health assessment and participate in a program of mental health treatment, in anger management, domestic
 violence, cognitive skills, or other forms of therapy or counseling that may be recommended and as directed by the
 probation officer, until such time as the defendant is released from the program by the probation officer. This may include
 a psychiatric evaluation and may require participation in a medication regiment. The defendant shall follow the medication
 regiment as prescribed by a licensed practitioner, at the direction of the probation officer. The defendant shall pay for the
 costs associated with services rendered for counseling and or testing based on a capay sliding fee scale, as directed and
 approved
AO 2458          Case
           (Rev. 09/11)    4:11-cr-40029-JPG
                        Judgment in a Criminal Case     Document 629 Filed 06/20/12                      Page 5 of 6       Page ID
           Sheet 5 - Criminal Monetary Penalties                  #2015
                                                                                                   Judgment- Page _ _5
                                                                                                                     __       of         6
DEFENDANT: Holly R. Phelps
CASE NUMBER: 4:11 CR40029-013-JPG
                                           CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                        Fine                              Restitution
TOTALS            $ 100.00                                          $ 200.00                          $ 0.00


 D The determination of restitution is deferred until _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned P.ayment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.




 TOTALS                           $                          0.00        $                        0.00
                                      ---------                              -----------

 D    Restitution amount ordered pursuant to plea agreement $ _ _ _ _ _ _ _ _ __

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(±). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 'i/ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     'i/ the interest requirement is waived for the 'i/ fine D restitution.
      D the interest requirement for the       D      fine   D restitution is modified as follows:


 *Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April23, 1996.
AO 2458          CaseJudgment
           (Rev. 09/11) 4:11-cr-40029-JPG
                                in a Criminal Case       Document 629 Filed 06/20/12                          Page 6 of 6          Page ID
           Sheet 6- Schedule of Payments                           #2016
                                                                                                              Judgment- Page -=6- of                   6
DEFENDANT: Holly R. Phelps
CASE NUMBER: 4:11CR40029-013-JPG

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ri{ Lump sum payment of$ -300.00
                                - - - - - - due immediately, balance due

          0     not later than                                     , or
                                 ------~~---~----
          0     in accordance         0    C,     0    D,     0      E, or     rifF below; or
B    0    Payment to begin immediately (may be combined with                 0 C,       0 D, or       0 F below); or
C    0    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                         (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    0    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                         (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    0    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    fl/ Special instructions regarding the payment of criminal monetary penalties:
           The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
           commencement of the term of supervised release. The defendant shall pay the fine in installments of $1 0.00 or
           ten percent of her net monthly income, whichever is greater to commence 30 days after release from
           imprisonment to a term of supervision until paid in full


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financia1
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




0    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




0    The defendant shall pay the cost of prosecution.

0    The defendant shall pay the following court cost(s):

0    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
